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                      UNITED STATES
                      UNITED        DISTRICT COURT
                             STATES DISTRICT COURT
                      NORTHERN DISTRICT
                      NORTHERN  DISTRICT OF
                                         OF FLORIDA
                                            FLORIDA
                          TALLAHASSEE  DIVISION
                          TALLAHASSEE DIVISION

GLOBAL
GLOBAL MARINE
       MARINE
EXPLORATION,
EXPLORATION, INC.,
             INC.,

      Plaintiff,
      Plaintiff,                               CASE NO:
                                               CASE NO: 4:20-cv-00181-AW/MJF
                                                        4:20-cv-00181-AW/MJF

vs.
vs.

REPUBLIC OF FRANCE,
REPUBLIC OF FRANCE,

     Defendant.
     Defendant.
___________________________________//

                             AMENDED COMPLAINT
                             AMENDED COMPLAINT

      Plaintiff,
      Plaintiff, GLOBAL
                 GLOBAL MARINE
                        MARINE EXPLORATION, INC. ("GME")
                               EXPLORATION, INC. (“GME”) brings
                                                         brings this
                                                                this

action against
action         Defendant, REPUBLIC
       against Defendant,          OF FRANCE,
                          REPUBLIC OF FRANCE, and
                                              and says:
                                                  says:

      1.
      1.       This action
               This action relates
                           relates to
                                   to valuable
                                      valuable historic
                                               historic shipwreck
                                                        shipwreck sites
                                                                  sites discovered
                                                                        discovered by
                                                                                   by

GME
GME on sovereign submerged
    on sovereign submerged lands
                           lands under
                                 under authority
                                       authority of
                                                 of the
                                                    the State of Florida's
                                                        State of Florida’s salvage
                                                                           salvage

activity program.
activity program. France
                  France has
                         has collaborated with the
                             collaborated with the State
                                                   State of Florida to
                                                         of Florida to recover the
                                                                       recover the

sites and
sites and their
          their value
                value for their own
                      for their     purposes, using
                                own purposes, using GME’s
                                                    GME's confidential
                                                          confidential locational
                                                                       locational

information, in
information, in derogation
                derogation of
                           of GME’s rights and
                              GME's rights and entitlements.
                                               entitlements. GME undertook
                                                             GME undertook

massive efforts
massive         and incurred
        efforts and          significant financial
                    incurred significant financial expenditure discovering and
                                                   expenditure discovering and

locating the
locating the sites
             sites in justifiable reliance
                   in justifiable reliance upon
                                           upon its
                                                its program
                                                    program rights
                                                            rights being
                                                                   being honored
                                                                         honored and
                                                                                 and is
                                                                                     is

entitled to relief
entitled to relief against
                   against France
                           France to
                                  to vindicate
                                     vindicate its
                                               its rights under both
                                                   rights under both admiralty
                                                                     admiralty law
                                                                               law and
                                                                                   and

Florida law.
Florida law.


                                           1
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       2.
       2.      This Court
               This       has jurisdiction
                    Court has jurisdiction pursuant
                                           pursuant to
                                                    to Article
                                                       Article III, § 22 of
                                                               III, §       the United
                                                                         of the United

States
States Constitution and 28
       Constitution and 28 U.S.C.
                           U.S.C. §§ 1330
                                     1330 (a)
                                          (a) (2019)
                                              (2019) providing
                                                     providing that
                                                               that the
                                                                    the United
                                                                        United States
                                                                               States

District Courts
District        shall have
         Courts shall have original jurisdiction without
                           original jurisdiction without regard
                                                         regard to
                                                                to amount
                                                                   amount in
                                                                          in

controversy
controversy of
            of any nonjury civil
               any nonjury       action against
                           civil action against aa foreign state as
                                                   foreign state as to
                                                                    to claims
                                                                       claims for relief
                                                                              for relief

in personam with
in personam with respect
                 respect to
                         to which
                            which the
                                  the foreign state is
                                      foreign state is not
                                                       not entitled to immunity
                                                           entitled to immunity either
                                                                                either

under 28
under 28 U.S.C.
         U.S.C. §§
                §§ 1605-1607
                   1605–1607 or
                             or applicable international agreement.
                                applicable international agreement.

       3.
       3.      Defendant is
               Defendant is the
                            the Republic
                                Republic of France, aa foreign
                                         of France,    foreign country, that is
                                                               country, that is not
                                                                                not

entitled to immunity
entitled to immunity either under federal
                     either under         law or
                                  federal law or international agreement with
                                                 international agreement with respect
                                                                              respect

to the
to the claims
       claims for relief in
              for relief    personam brought
                         in personam brought by
                                             by this
                                                this complaint.
                                                     complaint.

       4.
       4.      The Court
               The       has subject
                   Court has subject matter
                                     matter jurisdiction
                                            jurisdiction over the claims
                                                         over the        herein
                                                                  claims herein

pursuant to
pursuant to 28
            28 U.S.C.
               U.S.C. §
                      § 1605
                        1605 (2019),
                             (2019), because
                                     because Defendant
                                             Defendant France
                                                       France is
                                                              is engaging in
                                                                 engaging in

commercial venture activity
commercial venture          in Florida
                   activity in Florida that
                                       that affects
                                            affects GME. France’s activity
                                                    GME. France's activity is
                                                                           is of
                                                                              of aa

nature that
nature that private
            private parties
                    parties would
                            would do,
                                  do, regardless
                                      regardless of the purpose
                                                 of the purpose of
                                                                of the
                                                                   the activity,
                                                                       activity, and
                                                                                 and

therefore is
therefore is commercial activity.**
             commercial activity.




** See
   See Republic
        Republic ofof Arg.
                      Arg. v.
                            v. Weltover,    504 U.S.
                                Weltover, 504    U.S. 607,
                                                       607, 614
                                                             614 (1992)
                                                                  (1992) (Under
                                                                           (Under the
                                                                                    the FSIA's
                                                                                         FSIA’s
 definition of
definition      "commercial activity,"
            of "commercial     activity," whether
                                          whether aa foreign  government acts
                                                      foreign government     acts out of aa profit
                                                                                  out of    profit
 motive or
motive    or out
              out of
                   of aa desire
                          desire to
                                  to fulfill  "uniquely sovereign
                                      fulfill "uniquely   sovereign objectives"
                                                                       objectives" isis entirely
                                                                                        entirely
 irrelevant to
irrelevant  to the
                the analysis  of whether
                    analysis of  whether an an activity
                                                activity qualifies
                                                         qualifies as
                                                                    as "commercial."
                                                                       "commercial." Instead,
                                                                                        Instead,
 we must
we   must determine
           determine "whether
                        "whether thethe particular
                                        particular actions   that the
                                                     actions that  the foreign  state performs
                                                                        foreign state  performs
 (whatever the
(whatever    the motive
                  motive behind
                          behind them)
                                   them) are
                                           are the
                                               the type
                                                    type of
                                                         of actions
                                                            actions by
                                                                     by which
                                                                         which aa private
                                                                                  private party
                                                                                            party
 engages  in trade
 engages in   trade and  traffic or
                    and traffic  or commerce)."
                                    commerce)."

                                                2
                                                2
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      5.
      5.     This court
             This       has personal
                  court has personal jurisdiction
                                     jurisdiction over Defendant as
                                                  over Defendant as aa foreign state
                                                                       foreign state

pursuant to
pursuant to 28
            28 U.S.C.
               U.S.C. §
                      § 1330
                        1330 (b)
                             (b) (2019)
                                 (2019) with
                                        with respect to the
                                             respect to the claims herein for
                                                            claims herein     which
                                                                          for which

the Court
the       has subject
    Court has subject matter
                      matter jurisdiction.
                             jurisdiction.

      6.
      6.     Venue lies
             Venue lies in
                        in this
                           this Court pursuant to
                                Court pursuant to 28
                                                  28 U.S.C.
                                                     U.S.C. §§ 1391(f)
                                                               1391(f) (1)
                                                                       (1) (2019)
                                                                           (2019)

because aa substantial
because    substantial part
                       part of
                            of the
                               the events giving rise
                                   events giving      to Plaintiff’s
                                                 rise to Plaintiff's claims have taken
                                                                     claims have taken

place and
place and will
          will continue to take
               continue to take place
                                place in
                                      in Leon
                                         Leon County,
                                              County, Florida,
                                                      Florida, in
                                                               in the
                                                                  the Tallahassee
                                                                      Tallahassee

Division of
Division of the
            the Northern
                Northern District
                         District of
                                  of Florida.
                                     Florida.         The
                                                      The events include France's
                                                          events include France’s

negotiations with
negotiations with the
                  the Florida
                      Florida Department
                              Department of
                                         of State,
                                            State, Division
                                                   Division of
                                                            of Historical Resources,
                                                               Historical Resources,

to reach
to reach agreement
         agreement to,
                   to, and
                       and to
                           to undertake
                              undertake operations
                                        operations to
                                                   to recover,
                                                      recover, conserve, study and
                                                               conserve, study and

exhibit
exhibit in Florida historic
        in Florida historic shipwrecks
                            shipwrecks discovered
                                       discovered by
                                                  by GME;
                                                     GME; entering
                                                          entering into
                                                                   into one
                                                                        one or more
                                                                            or more

agreements to
agreements to carry
              carry out and implement
                    out and           such operations,
                            implement such             and communications
                                           operations, and communications

relative thereto;
relative thereto; and planning, coordinating,
                  and planning,               and directing
                                coordinating, and directing work
                                                            work with
                                                                 with the
                                                                      the State of
                                                                          State of

Florida, Department
Florida, Department of
                    of State with respect
                       State with respect to
                                          to those
                                             those activities
                                                   activities for mutual benefit.
                                                              for mutual benefit.

      7.
      7.     Plaintiff
             Plaintiff GME is aa Florida
                       GME is    Florida corporation that conducted
                                         corporation that           marine salvage
                                                          conducted marine salvage

activity and
activity     discovered historic
         and discovered historic shipwreck
                                 shipwreck sites
                                           sites in
                                                 in State
                                                    State coastal waters on
                                                          coastal waters on sovereign
                                                                            sovereign

submerged lands
submerged lands under
                under authorization
                      authorization agreement with the
                                    agreement with the Florida
                                                       Florida Department
                                                               Department of
                                                                          of

State, Division of
State, Division of Historical
                   Historical Resources, pursuant to
                              Resources, pursuant to its
                                                     its commercial salvage activity
                                                         commercial salvage activity

program, and
program, and with
             with all
                  all other
                      other required
                            required governmental
                                     governmental approvals.
                                                  approvals.

      8.
      8.     The Florida
             The Florida Department
                         Department of
                                    of State, Division of
                                       State, Division of Historical Resources
                                                          Historical Resources

(“DOS”) administers
("DOS") administers historical
                    historical shipwreck
                               shipwreck resources
                                         resources on
                                                   on State-owned
                                                      State-owned coastal
                                                                  coastal


                                             33
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submerged lands.
submerged lands. Pursuant to Section
                 Pursuant to         267.031, Florida
                             Section 267.031, Florida Statutes, Florida DOS
                                                      Statutes, Florida DOS agrees
                                                                            agrees

and contracts
and contracts for
              for commercial salvage activity,
                  commercial salvage activity, i.e. survey, exploration,
                                               i.e. survey,              identification,
                                                            exploration, identification,

excavation and recovery
excavation and recovery of historical shipwreck
                        of historical shipwreck sites
                                                sites by
                                                      by commercial salvors, and
                                                         commercial salvors, and for
                                                                                 for

the transfer
the transfer of resources or
             of resources or value
                             value equivalent
                                   equivalent for their services.
                                              for their services.

      9.
      9.     Florida DOS
             Florida DOS entered into authorization
                         entered into authorization agreements with GME
                                                    agreements with     to entitle
                                                                    GME to entitle

it to
it to conduct salvage activities
      conduct salvage activities in
                                 in State
                                    State coastal waters in
                                          coastal waters in designated
                                                            designated areas
                                                                       areas off Cape
                                                                             off Cape

Canaveral, Florida.
Canaveral, Florida.

      10.
      10.    The State
             The State of Florida, Division
                       of Florida,          of State
                                   Division of State Lands
                                                     Lands conferred upon GME
                                                           conferred upon GME aa

fixed term "cultural
fixed term “cultural resource
                     resource recovery
                              recovery easement
                                       easement for salvage exploration
                                                for salvage             and
                                                            exploration and

operational purposes” for
operational purposes"     the designated
                      for the designated State-owned submerged lands,
                                         State-owned submerged lands, and
                                                                      and the
                                                                          the

Florida Department
Florida Department of
                   of Environmental
                      Environmental Protection and the
                                    Protection and the Federal
                                                       Federal Corps
                                                               Corps of
                                                                     of Engineers
                                                                        Engineers

issued permits
issued permits for
               for GME to use
                   GME to use designated
                              designated submerged
                                         submerged lands and navigable
                                                   lands and navigable waters
                                                                       waters for
                                                                              for

such construction
such              work.
     construction work.

      11.
      11.    GME undertook prolonged
             GME undertook prolonged and
                                     and expensive
                                         expensive research, survey, reporting,
                                                   research, survey, reporting,

and identification
and identification of shipwrecked sites
                   of shipwrecked sites and
                                        and artifacts
                                            artifacts and
                                                      and contents, with reasonable
                                                          contents, with reasonable

investment-backed expectation
investment-backed             and program
                  expectation and program assurances
                                          assurances that
                                                     that its salvage activity
                                                          its salvage activity in
                                                                               in

State waters would
State waters would be
                   be fully
                      fully compensated based on
                            compensated based    the value
                                              on the value of discovered sites.
                                                           of discovered sites.

GME
GME expended millions of
    expended millions of dollars
                         dollars and
                                 and enormous time and
                                     enormous time and effort to survey,
                                                       effort to survey, discover,
                                                                         discover,

locate, identify,
locate, identify, analyze,
                  analyze, and
                           and conserve the historic
                               conserve the historic shipwreck
                                                     shipwreck sites
                                                               sites and
                                                                     and artifacts
                                                                         artifacts

found.
found.


                                           4
                                           4
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      12.
      12.    Beginning in
             Beginning in 2014,
                          2014, the
                                the Florida
                                    Florida DOS
                                            DOS agreed
                                                agreed with
                                                       with GME
                                                            GME for salvage
                                                                for salvage

activity related
activity related to
                 to six
                    six different
                        different three-square
                                  three-square mile
                                               mile areas
                                                    areas off the coast
                                                          off the       of Cape
                                                                  coast of Cape

Canaveral for
Canaveral     renewable three-year
          for renewable three-year terms.
                                   terms. GME’s
                                          GME's efforts in these
                                                efforts in these areas turned up
                                                                 areas turned up

some shipwreck
some shipwreck evidence (anchors) dating
               evidence (anchors) dating in the 1700s,
                                         in the 1700s, but
                                                       but mostly
                                                           mostly resulted
                                                                  resulted in
                                                                           in

identification of
identification    rocket debris.
               of rocket debris.

      13.
      13.    On August
             On August 14,
                       14, 2015,
                           2015, Florida
                                 Florida DOS and GME
                                         DOS and GME entered
                                                     entered aa seventh
                                                                seventh

agreement, being
agreement, being designated
                 designated Permit No. 2015-03,
                            Permit No. 2015-03, specifically
                                                specifically authorizing
                                                             authorizing GME, on
                                                                         GME, on

an exclusive
an           term basis,
   exclusive term basis, to
                         to survey
                            survey another
                                   another designated
                                           designated three-square
                                                      three-square mile
                                                                   mile area
                                                                        area off
                                                                             off Cape
                                                                                 Cape

Canaveral and
Canaveral and locate and report
              locate and report any
                                any shipwreck
                                    shipwreck sites
                                              sites discovered
                                                    discovered therein.
                                                               therein.

      14.
      14.    Amendment One
             Amendment One known as the
                           known as the Dig
                                        Dig Addendum
                                            Addendum was
                                                     was subsequently
                                                         subsequently

added, recognizing
added, recognizing GME’s successful completion
                   GME's successful            of the
                                    completion of the sensing
                                                      sensing survey
                                                              survey work
                                                                     work phase
                                                                          phase

within the
within the exclusive designated area,
           exclusive designated area, and specifically authorizing
                                      and specifically authorizing GME to undertake
                                                                   GME to undertake

activity to
activity to identify newly discovered
            identify newly discovered cultural materials and
                                      cultural materials and perform
                                                             perform limited
                                                                     limited test
                                                                             test

excavation and diagnostic
excavation and diagnostic artifact
                          artifact recovery
                                   recovery for shipwreck identification
                                            for shipwreck                purposes,
                                                          identification purposes,

and specifically
and specifically promising
                 promising for their value
                           for their value to
                                           to be
                                              be pooled
                                                 pooled with
                                                        with the
                                                             the value
                                                                 value of
                                                                       of all ultimately
                                                                          all ultimately

recovered objects
recovered objects to
                  to calculate 80% thereof
                     calculate 80% thereof to
                                           to be
                                              be paid
                                                 paid to
                                                      to GME.
                                                         GME.

      15.
      15.    GME discovered five
             GME discovered      separate shipwrecks
                            five separate shipwrecks and
                                                     and six
                                                         six historic
                                                             historic shipwreck
                                                                      shipwreck

sites within
sites within the
             the exclusive area pursuant
                 exclusive area pursuant to
                                         to Permit Agreement ## 2015-03,
                                            Permit Agreement    2015-03, as depicted
                                                                         as depicted

by GME’s
by       mapped conclusions
   GME's mapped             attached hereto
                conclusions attached hereto as Exhibit 1.
                                            as Exhibit 1.               These mapped
                                                                        These mapped




                                           55
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conclusions were provided
conclusions were provided to
                          to the
                             the Florida
                                 Florida DOS
                                         DOS as part of
                                             as part    GME’s report
                                                     of GME's report

accompanying its
accompanying its request
                 request for promised approval
                         for promised          to proceed
                                      approval to proceed with
                                                          with recovery.
                                                               recovery.

       16.
       16.    GME provided its
              GME provided its "Final
                               “Final Dig
                                      Dig &
                                          & Identify
                                            Identify Report and Request
                                                     Report and Request for
                                                                        for Rescue
                                                                            Rescue

Recovery
Recovery Permit” to the
         Permit" to the Florida
                        Florida DOS
                                DOS on
                                    on June 30, 2016.
                                       June 30, 2016. GME described the
                                                      GME described the various
                                                                        various

discovered historic
discovered historic shipwreck
                    shipwreck sites
                              sites and
                                    and artifacts; provided diagrams,
                                        artifacts; provided diagrams, underwater
                                                                      underwater

photographs, field
photographs,       notes, activity
             field notes, activity logs,
                                   logs, inspection
                                         inspection reports,
                                                    reports, archeological research
                                                             archeological research

assessment and
assessment and documentation;
               documentation; and
                              and requested
                                  requested specific
                                            specific authorization
                                                     authorization for
                                                                   for

rescue/recovery to
rescue/recovery to secure
                   secure these
                          these historically
                                historically significant
                                             significant artifacts.
                                                         artifacts.

       17.
       17.    GME
              GME excavated
                  excavated and was conserving
                            and was conserving certain small artifact
                                               certain small          items from
                                                             artifact items from

its discovered
its discovered historic
               historic shipwreck
                        shipwreck Site
                                  Site #2, and provided
                                       #2, and provided the
                                                        the Florida
                                                            Florida DOS
                                                                    DOS with
                                                                        with

photographic and
photographic and video
                 video identification
                       identification of
                                      of certain
                                         certain cannons and monuments
                                                 cannons and monuments from that
                                                                       from that

Site.
Site. These were relied
      These were relied on
                        on by
                           by the
                              the Florida
                                  Florida DOS
                                          DOS and
                                              and Defendant
                                                  Defendant France
                                                            France to
                                                                   to surmise
                                                                      surmise that
                                                                              that

shipwreck Site
shipwreck Site #
               #22 was
                   was probably
                       probably the
                                the historic
                                    historic French
                                             French vessel
                                                    vessel la
                                                           la Trinité, which was
                                                              Trinite, which was

involved in
involved in French
            French Huguenot
                   Huguenot resettlement
                            resettlement and
                                         and sank
                                             sank off
                                                  off the
                                                      the Florida
                                                          Florida coast below
                                                                  coast below

St. Augustine during
St. Augustine during aa hurricane
                        hurricane in
                                  in 1565.
                                     1565.

       18.
       18.    GME’s Final Dig
              GME's Final Dig and
                              and Identify
                                  Identify Report submitted to
                                           Report submitted to Florida
                                                               Florida DOS did not
                                                                       DOS did not

include the
include the precise
            precise data
                    data coordinate locations of
                         coordinate locations of any
                                                 any of the discovered
                                                     of the discovered historic
                                                                       historic

shipwreck sites,
shipwreck sites, but
                 but noted
                     noted that
                           that in
                                in accordance with GME’s
                                   accordance with       research design
                                                   GME's research design plan
                                                                         plan of
                                                                              of

September 27, 2015
September 27, 2015 that:
                   that: "GME
                         “GME will
                              will record
                                   record every
                                          every find with precise
                                                find with precise measurements
                                                                  measurements

singularly, and
singularly, and as
                as aa whole,
                      whole, sites
                             sites to
                                   to include
                                      include .. .. .. "description,
                                                       “description, compass heading, depth
                                                                     compass heading, depth


                                            66
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of waters, depth
of waters, depth of
                 of overburden (sand, mud,
                    overburden (sand, mud, mud
                                           mud clay,
                                               clay, etc.), size, length,
                                                     etc.), size, length, width,
                                                                          width,

height, type
height, type of material, quality,
             of material, quality, condition,
                                   condition, etc. This will
                                              etc. This will include
                                                             include drawings
                                                                     drawings and
                                                                              and

maps. In
maps. In this
         this way,
              way, the
                   the site
                       site plan
                            plan of
                                 of each site(s) will
                                    each site(s) will be
                                                      be compiled and recorded."
                                                         compiled and recorded.”

      19.
      19.    The precise
             The precise coordinate
                         coordinate locations
                                    locations of the historic
                                              of the historic shipwreck
                                                              shipwreck sites
                                                                        sites

discovered by
discovered by GME and the
              GME and the methods
                          methods GME used to
                                  GME used to identify
                                              identify those
                                                       those locations
                                                             locations were
                                                                       were

owned by GME,
owned by      and were
         GME, and were considered proprietary, confidential
                       considered proprietary,              trade secret
                                               confidential trade secret

information so
information so maintained
               maintained by
                          by GME. There was
                             GME. There was no
                                            no requirement or agreement
                                               requirement or agreement for
                                                                        for

public disclosure
public disclosure of this confidential
                  of this              information which
                          confidential information which was
                                                         was exempt
                                                             exempt from under
                                                                    from under

Florida’s Public
Florida's Public Records Act. The
                 Records Act. The confidentiality
                                  confidentiality of the information
                                                  of the information and
                                                                     and GME’s
                                                                         GME's

entitlement
entitlement for it to
            for it to be
                      be maintained
                         maintained confidential was made
                                    confidential was made known
                                                          known in
                                                                in writing
                                                                   writing to
                                                                           to Florida
                                                                              Florida

DOS and
DOS and confirmed
        confirmed as such by
                  as such by its
                             its personnel.
                                 personnel.

      20.
      20.    Although GME
             Although     was directed
                      GME was directed to
                                       to submit
                                          submit the
                                                 the location
                                                     location coordinate
                                                              coordinate

information to
information to the
               the Florida
                   Florida DOS
                           DOS incident
                               incident to
                                        to that
                                           that agency’s
                                                agency's oversight and inventory
                                                         oversight and inventory of
                                                                                 of

historical resources,
historical resources, the
                      the information
                          information was
                                      was to
                                          to remain
                                             remain confidential, to be
                                                    confidential, to be used
                                                                        used

commercially
commercially only by GME
             only by     upon its
                     GME upon its full recovery of
                                  full recovery of the
                                                   the shipwreck
                                                       shipwreck sites.
                                                                 sites.

      21.
      21.    The Florida
             The Florida DOS
                         DOS never
                             never raised
                                   raised any
                                          any issue
                                              issue or
                                                    or ever
                                                       ever commented or
                                                            commented or

suggested that
suggested that GME had improperly
               GME had improperly proceeded;
                                  proceeded; nor
                                             nor had
                                                 had the
                                                     the Florida
                                                         Florida DOS
                                                                 DOS ever
                                                                     ever

indicated any
indicated any reason
              reason or justification that
                     or justification that GME would not
                                           GME would not be
                                                         be specifically
                                                            specifically authorized
                                                                         authorized

to fully
to fully recover
         recover its various shipwreck
                 its various shipwreck site
                                       site finds
                                            finds and retain 80%
                                                  and retain 80% of their value.
                                                                 of their value.




                                          77
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         22.
         22.   To the
               To the contrary, in July
                      contrary, in      2016, the
                                   July 2016, the Secretary of State
                                                  Secretary of State of Florida spoke
                                                                     of Florida spoke

with GME
with     by telephone,
     GME by telephone, with
                       with an
                            an Assistant
                               Assistant Secretary and the
                                         Secretary and the Director
                                                           Director of
                                                                    of the
                                                                       the Division
                                                                           Division

of Historical Resources
of Historical Resources on the call,
                        on the       and assured
                               call, and assured GME that the
                                                 GME that the Florida
                                                              Florida DOS would
                                                                      DOS would

be "partnering"
be “partnering” with
                with GME in the
                     GME in the full recovery of
                                full recovery    the GME
                                              of the     discovered shipwreck
                                                     GME discovered shipwreck

sites.
sites.

         23.
         23.   Subsequently, however, GME
               Subsequently, however,     learned the
                                      GME learned the Florida
                                                      Florida DOS
                                                              DOS was
                                                                  was

collaborating
collaborating and negotiating with
              and negotiating with France
                                   France to
                                          to recover
                                             recover the
                                                     the shipwreck
                                                         shipwreck sites
                                                                   sites without
                                                                         without

GME’s
GME's involvement, surmising that
      involvement, surmising that Site
                                  Site #
                                       # 22 was
                                            was an
                                                an abandoned French shipwreck
                                                   abandoned French shipwreck la
                                                                              la

Trinité.
Trinite.

         24.
         24.   GME became concerned,
               GME became concerned, and in September
                                     and in           2016, filed
                                            September 2016, filed aa federal
                                                                     federal court
                                                                             court

in
in rem
   rem admiralty action against
       admiralty action         “The Unidentified,
                        against "The Unidentified, Wrecked
                                                   Wrecked and
                                                           and (for
                                                               (for Finders-Right
                                                                    Finders-Right

Purposes) Abandoned Sailing
Purposes) Abandoned         Vessel,” in
                    Sailing Vessel,"    an attempt
                                     in an attempt to
                                                   to protect
                                                      protect its supposed
                                                              its supposed

ownership interest of
ownership interest    the Site
                   of the Site ## 22 shipwreck
                                     shipwreck under
                                               under the
                                                     the Law
                                                         Law of Finds (that
                                                             of Finds (that actually
                                                                            actually

applies in
applies in international waters, but
           international waters, but not
                                     not for
                                         for State
                                             State owned
                                                   owned coastal waters). The
                                                         coastal waters). The Florida
                                                                              Florida

DOS and
DOS and France
        France became
               became parties
                      parties to
                              to that
                                 that action.
                                      action.

         25.
         25.   Incident to
               Incident to filing the in
                           filing the in rem
                                         rem action,
                                             action, GME deposited with
                                                     GME deposited with the
                                                                        the federal
                                                                            federal

court several small
court several small artifacts
                    artifacts (ballast
                              (ballast stones,
                                       stones, pics)
                                               pics) from shipwreck Site
                                                     from shipwreck Site ## 22 that
                                                                               that GME
                                                                                    GME

had recovered
had recovered and was properly
              and was properly conserving.
                               conserving. Deposit
                                           Deposit of these items
                                                   of these items was
                                                                  was required
                                                                      required by
                                                                               by

admiralty law
admiralty law to
              to confer
                 confer constructive possession upon
                        constructive possession upon the
                                                     the federal
                                                         federal court of the
                                                                 court of the




                                           88
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shipwreck Site
shipwreck Site #
               #22 vessel
                   vessel to
                          to arrest that ship
                             arrest that ship to
                                              to vest
                                                 vest admiralty
                                                      admiralty in
                                                                in rem subject matter
                                                                   rem subject matter

jurisdiction.
jurisdiction.

      26.
      26.       In early
                In early October 2016, the
                         October 2016, the Florida
                                           Florida DOS
                                                   DOS demanded
                                                       demanded that
                                                                that GME
                                                                     GME

immediately turn
immediately turn over those small
                 over those small recovered
                                  recovered artifacts to DOS,
                                            artifacts to DOS, although
                                                              although the
                                                                       the federal
                                                                           federal

court
court controlled them. The
      controlled them. The Florida
                           Florida DOS
                                   DOS then
                                       then "suspended"
                                            “suspended” GME’s salvage activity
                                                        GME's salvage activity

permit ## 2015-03
permit    2015-03 and
                  and refused
                      refused to
                              to allow
                                 allow GME to proceed
                                       GME to proceed with
                                                      with full recovery of
                                                           full recovery of its
                                                                            its

discovered historic
discovered historic shipwreck
                    shipwreck sites,
                              sites, stating
                                     stating that
                                             that the
                                                  the only
                                                      only cure was for
                                                           cure was for GME to deliver
                                                                        GME to deliver

the small
the small recovered
          recovered artifacts to it
                    artifacts to it forthwith.
                                    forthwith.

      27.
      27.       The federal
                The federal court magistrate judge
                            court magistrate judge assigned
                                                   assigned to
                                                            to hear
                                                               hear the
                                                                    the in
                                                                        in rem action
                                                                           rem action

subsequently transferred
subsequently transferred control of the
                         control of the small
                                        small artifacts
                                              artifacts to
                                                        to the
                                                           the Florida
                                                               Florida DOS,
                                                                       DOS, fulfilling
                                                                            fulfilling

this demand.
this demand. However, Florida DOS
             However, Florida     still refused
                              DOS still refused to
                                                to allow
                                                   allow GME to recover
                                                         GME to recover any
                                                                        any of
                                                                            of

the shipwreck
the shipwreck sites.
              sites.

      28.
      28.       The federal
                The federal court magistrate judge
                            court magistrate judge subsequently
                                                   subsequently conferred temporary
                                                                conferred temporary

in
in rem
   rem custody to DOS
       custody to     during the
                  DOS during the admiralty
                                 admiralty case and precluded
                                           case and precluded any
                                                              any shipwreck
                                                                  shipwreck site
                                                                            site

recovery pending
recovery pending its decision as
                 its decision as to
                                 to ownership
                                    ownership entitlement.
                                              entitlement.

      29.
      29.       Almost two
                Almost two years
                           years later,
                                 later, on
                                        on June 29, 2018,
                                           June 29, 2018, the
                                                          the federal magistrate judge
                                                              federal magistrate judge

granted France's
granted France’s Motion
                 Motion to
                        to Dismiss
                           Dismiss the
                                   the in
                                       in rem admiralty action
                                          rem admiralty action for lack of
                                                               for lack of federal
                                                                           federal

court subject matter
court subject matter jurisdiction
                     jurisdiction over
                                  over the
                                       the vessel
                                           vessel (shipwreck
                                                  (shipwreck Site
                                                             Site # 2) because
                                                                  # 2) because France
                                                                               France

had aa colorable
had    colorable claim to the
                 claim to the vessel
                              vessel as
                                     as being
                                        being the
                                              the la
                                                  la Trinité that sank
                                                     Trinite that sank in
                                                                       in 1565
                                                                          1565 south
                                                                               south of
                                                                                     of

St. Augustine.
St. Augustine.


                                            99
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      30.
      30.    Pursuant to the
             Pursuant to the Foreign
                             Foreign Sovereign Immunities Act
                                     Sovereign Immunities Act ("FSIA"),
                                                              (“FSIA”),

28 U.S.C.A.
28 U.S.C.A. §§ 1609,
               1609, federal
                     federal courts do not
                             courts do not have
                                           have subject
                                                subject matter
                                                        matter jurisdiction
                                                               jurisdiction to
                                                                            to arrest
                                                                               arrest

aa res that is
   res that is colorably
               colorably claimed by aa foreign
                         claimed by            government, and
                                       foreign government, and any such vessel
                                                               any such vessel is
                                                                               is

immune from
immune from federal
            federal court
                    court in
                          in rem
                             rem adjudication or disposition.
                                 adjudication or disposition.

      31.
      31.    The federal
             The federal court magistrate hearing
                         court magistrate hearing the
                                                  the in
                                                      in rem action determined
                                                         rem action determined that
                                                                               that

under FSIA,
under FSIA, the
            the federal district court
                federal district       had no
                                 court had no subject
                                              subject matter
                                                      matter jurisdiction
                                                             jurisdiction to
                                                                          to proceed
                                                                             proceed

to determine
to determine any
             any ownership interest entitlement
                 ownership interest             to the
                                    entitlement to the constructively arrested
                                                       constructively arrested

shipwreck vessel.
shipwreck vessel. The
                  The magistrate
                      magistrate judge
                                 judge dismissed
                                       dismissed the
                                                 the entire
                                                     entire case
                                                            case for lack of
                                                                 for lack    subject
                                                                          of subject

matter jurisdiction,
matter jurisdiction, with
                     with direction
                          direction for the Court’s
                                    for the Court's constructive
                                                    constructive custody
                                                                 custody of the res
                                                                         of the res

(presumed to
(presumed to be
             be the
                the vessel
                    vessel la
                           la Trinité) to be
                              Trinite) to be returned
                                             returned to
                                                      to France,
                                                         France, or
                                                                 or retained
                                                                    retained by
                                                                             by the
                                                                                the

State as agreed
State as agreed by
                by France,
                   France, and
                           and with
                               with recovery now being
                                    recovery now being allowed.
                                                       allowed. The magistrate’s
                                                                The magistrate's

order of dismissal
order of dismissal is
                   is found at Global
                      found at        Marine Exploration,
                               Global Marine Exploration, Inc.
                                                          Inc. v.
                                                               v. The
                                                                  The Unidentified,
                                                                      Unidentified,

Wrecked and (For
Wrecked and      Finders-Rights Purposes)
            (For Finders-Rights Purposes) Abandoned
                                          Abandoned Sailing
                                                    Sailing Vessel, 348
                                                            Vessel, 348

F. Supp.
F.       3d 1221
   Supp. 3d 1221 (M.D.
                 (M.D. Fla.
                       Fla. 2018).
                            2018).

      32.
      32.    The decision
             The decision of
                          of the
                             the federal
                                 federal court magistrate to
                                         court magistrate to dismiss
                                                             dismiss the
                                                                     the in
                                                                         in rem action
                                                                            rem action

for lack of
for lack of subject
            subject matter
                    matter jurisdiction
                           jurisdiction under
                                        under the
                                              the FSIA
                                                  FSIA is not res
                                                       is not     judicata of
                                                              res judicata    any
                                                                           of any

ownership or beneficial
ownership or beneficial interest
                        interest entitlement to any
                                 entitlement to     of the
                                                any of the historic
                                                           historic shipwrecks
                                                                    shipwrecks sites
                                                                               sites

discovered and
discovered and located by GME.
               located by GME. The magistrate judge's
                               The magistrate judge’s decision
                                                      decision could not and
                                                               could not and did
                                                                             did

not purport
not purport to
            to determine
               determine GME’s
                         GME's rights,
                               rights, including its right
                                       including its right to
                                                           to benefit
                                                              benefit from its finds
                                                                      from its finds

or to receive
or to receive fair
              fair compensation
                   compensation for its efforts
                                for its         and expertise.
                                        efforts and expertise.


                                          10
                                          10
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      33.
      33.    In December
             In          2018, France
                December 2018, France entered into aa Declaration
                                      entered into    Declaration of Intent with
                                                                  of Intent with the
                                                                                 the

Florida DOS
Florida     providing for
        DOS providing     their recovery
                      for their recovery of
                                         of the
                                            the shipwreck
                                                shipwreck sites
                                                          sites discovered
                                                                discovered by
                                                                           by GME,
                                                                              GME,

and for
and     recovered materials
    for recovered materials to
                            to be
                               be conserved and displayed
                                  conserved and displayed for the benefit
                                                          for the benefit of
                                                                          of the
                                                                             the

public in
public in Florida
          Florida on
                  on aa long-term basis. In
                        long-term basis. In the
                                            the recovery
                                                recovery of the historic
                                                         of the historic shipwrecks,
                                                                         shipwrecks,

France will
France will participate
            participate in
                        in their
                           their study,
                                 study, preservation,
                                        preservation, consultation
                                                      consultation and
                                                                   and evaluation, as
                                                                       evaluation, as

well as
well as the
        the mobilization
            mobilization and
                         and oversight of public
                             oversight of public and/or private resources
                                                 and/or private resources and
                                                                          and

organizations to fulfill
organizations to         the Declaration's
                 fulfill the Declaration’s objectives. A copy
                                           objectives. A copy of the Declaration
                                                              of the             of
                                                                     Declaration of

Intent is
Intent is attached hereto as
          attached hereto as Exhibit 2.
                             Exhibit 2.

      34.
      34.    Actions and
             Actions and agreements by France
                         agreements by France with
                                              with the
                                                   the Florida
                                                       Florida DOS
                                                               DOS and
                                                                   and others
                                                                       others

subsequent to
subsequent to the
              the Declaration
                  Declaration confirm
                              confirm and implement France's
                                      and implement France’s declared
                                                             declared

undertakings.
undertakings.

      35.
      35.    A France-Florida
             A France-Florida Steering
                              Steering Committee, including six
                                       Committee, including six representatives
                                                                representatives of
                                                                                of

France and
France and two
           two representatives of Florida,
               representatives of Florida, was
                                           was organized to implement
                                               organized to implement the
                                                                      the

Declaration agreement.
Declaration agreement.

      36.
      36.    France is
             France is sending
                       sending missions
                               missions to
                                        to Florida
                                           Florida to
                                                   to oversee the project
                                                      oversee the project and
                                                                          and provide
                                                                              provide

scientific expertise,
scientific expertise, and work is
                      and work is on-going.
                                  on-going.

      37.
      37.    France is
             France is performing
                       performing commercial activity in
                                  commercial activity    the State
                                                      in the State of Florida
                                                                   of Florida

through agreement
through agreement with
                  with Florida
                       Florida DOS
                               DOS and
                                   and others, and by
                                       others, and by activities undertaken or
                                                      activities undertaken    to
                                                                            or to

be undertaken,
be undertaken, in
               in relation to GME’s
                  relation to       discovered shipwreck
                              GME's discovered shipwreck sites
                                                         sites for which GME
                                                               for which GME

claims
claims rights and interest.
       rights and interest.


                                          11
                                          11
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                                    COUNT II
                                    COUNT
                            IN PERSONAM
                            IN PERSONAM LIEN AWARD
                                        LIEN AWARD

      38.
      38.    GME alleges paragraphs
             GME alleges paragraphs 1-37
                                    1-37 above,
                                         above, as if rewritten
                                                as if           herein.
                                                      rewritten herein.

      39.
      39.    GME
             GME is
                 is entitled to aa salvage
                    entitled to    salvage and/or maritime lien
                                           and/or maritime      under federal
                                                           lien under federal

admiralty law,
admiralty law, enforceable
               enforceable in personam against
                           in personam against France
                                               France to
                                                      to compensate
                                                         compensate GME’s
                                                                    GME's

authorized services
authorized services in the discovery,
                    in the discovery, location, identification, or
                                      location, identification,    mapping of
                                                                or mapping    the
                                                                           of the

shipwreck sites
shipwreck sites being
                being recovered
                      recovered by
                                by France
                                   France in
                                          in connection with its
                                             connection with its joint
                                                                 joint undertaking
                                                                       undertaking

with the
with the Florida
         Florida DOS.
                 DOS.

      40.
      40.    Under federal
             Under         admiralty law,
                   federal admiralty law, GME is entitled
                                          GME is          to be
                                                 entitled to be compensated
                                                                compensated for
                                                                            for its
                                                                                its

beneficial services
beneficial services performed
                    performed and authorized by
                              and authorized by the
                                                the State
                                                    State of Florida as
                                                          of Florida as owner
                                                                        owner of the
                                                                              of the

submerged sovereignty
submerged sovereignty land
                      land where
                           where the
                                 the historic
                                     historic shipwrecks
                                              shipwrecks were
                                                         were found and as
                                                              found and as their
                                                                           their

putative owner
putative owner under
               under the
                     the Abandoned
                         Abandoned Shipwreck Act of
                                   Shipwreck Act of 1987.
                                                    1987.

      41.
      41.    The full
             The      recovery of
                 full recovery    the historic
                               of the historic shipwreck
                                               shipwreck sites
                                                         sites will
                                                               will significantly
                                                                    significantly

benefit from
benefit from GME’s services. Without
             GME's services. Without GME’s services, those
                                     GME's services, those shipwreck
                                                           shipwreck sites
                                                                     sites would
                                                                           would

not have
not have been
         been discovered,
              discovered, located,
                          located, or
                                   or identified, and could
                                      identified, and       not be
                                                      could not be recovered.
                                                                   recovered.

      42.
      42.    Because the
             Because the shipwreck
                         shipwreck sites
                                   sites will
                                         will be
                                              be recovered
                                                 recovered at
                                                           at the
                                                              the direction
                                                                  direction of
                                                                            of France
                                                                               France

and with
and with its
         its participation
             participation and
                           and assistance
                               assistance under
                                          under claim
                                                claim of
                                                      of ownership,
                                                         ownership, GME is entitled
                                                                    GME is entitled

to enforce
to enforce aa salvage
              salvage and/or
                      and/or maritime
                             maritime lien
                                      lien in personam against
                                           in personam against France
                                                               France for
                                                                      for GME’s
                                                                          GME's

assistance in
assistance in ultimate
              ultimate recovery
                       recovery of the shipwreck
                                of the shipwreck sites.
                                                 sites.

      43.
      43.    GME secured and
             GME secured and funded
                             funded all
                                    all equipment
                                        equipment and personnel, and
                                                  and personnel, and covered all
                                                                     covered all

related expenses
related expenses over an extensive
                 over an           period in
                         extensive period in prolonged
                                             prolonged search
                                                       search and location efforts,
                                                              and location efforts,
                                         12
                                         12
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and GME's
and GME’s claim includes compensation
          claim includes              in relation
                         compensation in relation to
                                                  to its
                                                     its expenses incurred and
                                                         expenses incurred and

time and
time and effort
         effort expended.
                expended.

      44.
      44.    GME’s
             GME's claim seeks compensation
                   claim seeks compensation for the value
                                            for the value of
                                                          of its
                                                             its services,
                                                                 services,

including compensation
including compensation for the risk
                       for the risk involved in its
                                    involved in its operations
                                                    operations and
                                                               and the
                                                                   the skill
                                                                       skill with
                                                                             with

which they
which they were
           were performed.
                performed.

      45.
      45.    In addition,
             In addition, GME’s
                          GME's claim
                                claim for
                                      for compensation must be
                                          compensation must be determined
                                                               determined in
                                                                          in

relation to
relation to the
            the anticipated market and
                anticipated market     historic value
                                   and historic value of recovery made
                                                      of recovery made or to be
                                                                       or to be made
                                                                                made

with respect
with         to the
     respect to the shipwreck
                    shipwreck sites.
                              sites.

      WHEREFORE, GME
      WHEREFORE, GME requests declaration that
                     requests declaration that it
                                               it is
                                                  is entitled to aa salvage
                                                     entitled to    salvage or
                                                                            or

maritime lien
maritime      award against
         lien award against France
                            France to
                                   to compensate
                                      compensate for
                                                 for GME’s services for
                                                     GME's services     the
                                                                    for the

recovery of
recovery    the historic
         of the historic shipwreck
                         shipwreck sites,
                                   sites, and
                                          and that
                                              that GME be awarded
                                                   GME be awarded full
                                                                  full compensation
                                                                       compensation

for its services
for its services consistent with law,
                 consistent with law, and
                                      and for such other
                                          for such other and
                                                         and further relief related
                                                             further relief related

thereto as
thereto as appropriate.
           appropriate.



                            COUNT  II
                            COUNT II
                QUASI CONTRACT/UNJUST
                QUASI CONTRACT/UNJUST ENRICHMENT
                                      ENRICHMENT


      46.
      46.    GME alleges paragraphs
             GME alleges paragraphs 1-37
                                    1-37 and
                                         and 43-45
                                             43-45 above, as if
                                                   above, as if rewritten herein.
                                                                rewritten herein.

      47.
      47.    Under Florida
             Under Florida law,
                           law, GME is entitled
                                GME is          to enforce
                                       entitled to enforce aa claim
                                                              claim for unjust
                                                                    for unjust

enrichment
enrichment or
           or quantum meruit against
              quantum meruit against France,
                                     France, i.e. by contract
                                             i.e. by contract implied at law
                                                              implied at law for the
                                                                             for the




                                        13
                                        13
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value of
value of GME’s services benefitting
         GME's services benefitting France
                                    France and
                                           and the
                                               the property
                                                   property that
                                                            that France
                                                                 France is
                                                                        is

recovering.
recovering.

      48.
      48.     Obligation to
              Obligation to fairly
                            fairly compensate
                                   compensate another is created
                                              another is         under Florida
                                                         created under Florida law
                                                                               law

where one
where     is unjustly
      one is unjustly enriched by receiving
                      enriched by receiving aa benefit
                                               benefit under
                                                       under circumstances that make
                                                             circumstances that make

it unjust
it unjust without
          without giving
                  giving fair
                         fair compensation.
                              compensation.

      49.
      49.     GME
              GME conferred
                  conferred aa substantial
                               substantial benefit
                                           benefit upon
                                                   upon France
                                                        France in
                                                               in respect
                                                                  respect to
                                                                          to historic
                                                                             historic

shipwreck sites
shipwreck sites that
                that France
                     France is
                            is recovering
                               recovering or will recover,
                                          or will recover, and France knows
                                                           and France knows of and
                                                                            of and

has accepted
has accepted or retained the
             or retained the benefit
                             benefit without
                                     without paying
                                             paying for
                                                    for its value.
                                                        its value.

      WHEREFORE, GME
      WHEREFORE, GME requests payment for
                     requests payment     the value
                                      for the value of
                                                    of its
                                                       its efforts
                                                           efforts and
                                                                   and

services that
services that were
              were recognized and accepted
                   recognized and accepted by
                                           by France
                                              France and
                                                     and substantially
                                                         substantially benefit
                                                                       benefit

France in
France    the recovery
       in the recovery of the historic
                       of the historic shipwreck
                                       shipwreck sites.
                                                 sites.


                               COUNT III
                               COUNT  III
                       MISAPPROPRIATION
                       MISAPPROPRIATION OFOF TRADE
                                             TRADE
                          SECRET
                          SECRET INFORMATION
                                 INFORMATION

      50.
      50.     GME alleges paragraphs
              GME alleges paragraphs 1-37
                                     1-37 above,
                                          above, as if rewritten
                                                 as if           herein.
                                                       rewritten herein.

      51.
      51.     GME
              GME engaged in extensive
                  engaged in extensive and highly costly
                                       and highly        operations in
                                                  costly operations in order to find
                                                                       order to find

and locate
and locate the
           the various
               various historic
                       historic shipwreck
                                shipwreck sites,
                                          sites, and had significant
                                                 and had significant investment-
                                                                     investment-

backed expectation
backed expectation of its determinations
                   of its determinations of
                                         of where
                                            where such
                                                  such sites
                                                       sites were
                                                             were and how they
                                                                  and how they

could be found.
could be        The precise
         found. The precise locations
                            locations of
                                      of GME’s discovered shipwreck
                                         GME's discovered shipwreck sites
                                                                    sites and
                                                                          and the
                                                                              the

methods used
methods used to
             to identify
                identify those
                         those locations
                               locations were
                                         were proprietary
                                              proprietary and
                                                          and confidential
                                                              confidential



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                                         14
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information owned
information       by GME,
            owned by      to be
                     GME, to be used
                                used solely
                                     solely for
                                            for GME’s
                                                GME's commercial benefit in
                                                      commercial benefit in

connection with its
connection with its completion
                    completion of recovery of
                               of recovery of the
                                              the sites
                                                  sites and
                                                        and otherwise.
                                                            otherwise.

      52.
      52.    GME’s precise coordinate
             GME's precise            location data
                           coordinate location data was
                                                    was trade
                                                        trade secret
                                                              secret information,
                                                                     information,

as defined
as defined by
           by Florida
              Florida Statutes §§ 815.045
                      Statutes §§ 815.045 and
                                          and 812.081(1)(c) to include
                                              812.081(1)(c) to include proprietary
                                                                       proprietary

information made
information made confidential and exempt
                 confidential and exempt from the public
                                         from the public records
                                                         records law,
                                                                 law, and
                                                                      and as
                                                                          as

defined by
defined by Florida
           Florida Statute
                   Statute §
                           § 688.002(4)(a) to include
                             688.002(4)(a) to include aa method,
                                                         method, technique,
                                                                 technique, and
                                                                            and

process that
process that derives
             derives independent
                     independent economic value, actual
                                 economic value, actual or potential, from
                                                        or potential,      not being
                                                                      from not being

generally known
generally known to,
                to, and not being
                    and not being readily ascertainable by
                                  readily ascertainable by proper
                                                           proper means
                                                                  means and
                                                                        and is
                                                                            is the
                                                                               the

subject of
subject of efforts that are
           efforts that are reasonable under the
                            reasonable under the circumstances to maintain
                                                 circumstances to maintain its
                                                                           its secrecy.
                                                                               secrecy.

      53.
      53.    Before providing
             Before providing its
                              its locational
                                  locational coordinate proprietary information
                                             coordinate proprietary             to
                                                                    information to

the Florida
the Florida DOS
            DOS at
                at the
                   the insistence
                       insistence of its Director
                                  of its Director of the Division
                                                  of the Division Historical
                                                                  Historical Resources,
                                                                             Resources,

GME
GME repeatedly
    repeatedly emphasized and specified
               emphasized and specified in
                                        in writing
                                           writing that
                                                   that the
                                                        the locational
                                                            locational information
                                                                       information

was confidential
was              and protected,
    confidential and protected, and made reasonable
                                and made reasonable efforts under the
                                                    efforts under the circumstances
                                                                      circumstances

to maintain
to maintain its secrecy and
            its secrecy and confidentiality.
                            confidentiality. GME was assured
                                             GME was         by the
                                                     assured by the Division
                                                                    Division

Director in
Director    writing and
         in writing and otherwise that the
                        otherwise that the information
                                           information was
                                                       was exempt
                                                           exempt from public
                                                                  from public

disclosure and
disclosure     would be
           and would be protected.
                        protected.

      54.
      54.    GME’s proprietary locational
             GME's proprietary            data was
                               locational data was confidential information
                                                   confidential information

exempt
exempt from Florida’s Public
       from Florida's Public Records Act and
                             Records Act and protected
                                             protected from public disclosure,
                                                       from public disclosure,

misuse, exploitation
misuse, exploitation or beneficial gain
                     or beneficial gain by
                                        by the
                                           the Florida
                                               Florida DOS
                                                       DOS or
                                                           or by
                                                              by or
                                                                 or for anyone else.
                                                                    for anyone else.




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                                          15
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      55.
      55.    The Florida
             The Florida DOS
                         DOS received
                             received GME’s
                                      GME's confidential
                                            confidential locational information
                                                         locational information

under aa duty
under    duty to
              to maintain
                 maintain its
                          its confidentiality and limit
                              confidentiality and limit its
                                                        its use
                                                            use solely
                                                                solely for official
                                                                       for official

oversight purposes by
oversight purposes by the
                      the Division
                          Division of
                                   of Historical
                                      Historical Resources to verify
                                                 Resources to verify and
                                                                     and inventory
                                                                         inventory

the historical
the historical shipwrecks
               shipwrecks on
                          on State-owned submerged lands
                             State-owned submerged lands and
                                                         and monitor
                                                             monitor GME’s
                                                                     GME's

anticipated recovery.
anticipated recovery.

      56.
      56.    GME received assurances
             GME received assurances from the Florida
                                     from the Florida DOS
                                                      DOS that
                                                          that GME would be
                                                               GME would be

authorized to
authorized to complete its salvage
              complete its salvage activities
                                   activities and
                                              and recover
                                                  recover the
                                                          the shipwreck
                                                              shipwreck sites
                                                                        sites it
                                                                              it had
                                                                                 had

discovered and
discovered and located. However, after
               located. However, after DOS
                                       DOS came
                                           came into possession of
                                                into possession of GME’s
                                                                   GME's

confidential proprietary information,
confidential proprietary              it began
                         information, it began working
                                               working with
                                                       with France
                                                            France to
                                                                   to jointly
                                                                      jointly recover
                                                                              recover

the shipwreck
the shipwreck sites.
              sites. Relations
                     Relations with
                               with GME were discontinued,
                                    GME were discontinued, and
                                                           and GME was not
                                                               GME was not

allowed to
allowed to complete recovery of
           complete recovery    any of
                             of any    its finds.
                                    of its finds.

      57.
      57.    In connection
             In            with its
                connection with its salvage
                                    salvage activity
                                            activity in
                                                     in Florida,
                                                        Florida, France
                                                                 France has
                                                                        has used
                                                                            used and
                                                                                 and

continues to use
continues to use GME’s
                 GME's confidential, proprietary information
                       confidential, proprietary information as
                                                             as to
                                                                to the
                                                                   the precise
                                                                       precise

location of
location    the historic
         of the historic shipwreck
                         shipwreck sites
                                   sites for
                                         for its own benefit,
                                             its own benefit, gain
                                                              gain or
                                                                   or enhancement, to
                                                                      enhancement, to

the detriment
the detriment of
              of GME’s
                 GME's right to exclusive
                       right to exclusive commercial use and
                                          commercial use and benefit.
                                                             benefit.

      58.
      58.    France’s use
             France's use of
                          of GME’s proprietary information
                             GME's proprietary information is
                                                           is unauthorized
                                                              unauthorized and
                                                                           and

without GME’s
without GME's consent, and constitutes
              consent, and             misappropriation of
                           constitutes misappropriation of GME’s trade secret
                                                           GME's trade secret

property.
property.

      59.
      59.    France’s misuse
             France's misuse and
                             and misappropriation
                                 misappropriation of
                                                  of GME’s trade secret
                                                     GME's trade secret

information is
information    part of
            is part    the commercial
                    of the            activities conducted
                           commercial activities           by France
                                                 conducted by France in
                                                                     in Florida,
                                                                        Florida, and
                                                                                 and


                                         16
                                         16
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allowed France
allowed France to
               to conduct its recovery
                  conduct its recovery operations under direction
                                       operations under direction of the Joint
                                                                  of the Joint

Steering
Steering Committee.
         Committee.

      WHEREFORE, the
      WHEREFORE, the Court should determine
                     Court should determine that
                                            that GME’s proprietary
                                                 GME's proprietary

information was
information was misused
                misused and
                        and misappropriated
                            misappropriated by
                                            by France
                                               France without
                                                      without GME’s
                                                              GME's consent in
                                                                    consent in

violation of
violation    its rights
          of its        under law,
                 rights under law, and should award
                                   and should award GME
                                                    GME all damages, compensation,
                                                        all damages, compensation,

and attorneys'
and attorneys’ fees
               fees allowed by law,
                    allowed by law, and
                                    and further
                                        further relief as appropriate.
                                                relief as appropriate.



                             COUNT IV
                             COUNT  IV
               INTERFERENCE WITH
               INTERFERENCE WITH RIGHTS AND RELATIONS
                                 RIGHTS AND RELATIONS

      60.
      60.    GME alleges paragraphs
             GME alleges paragraphs 1-37
                                    1-37 above,
                                         above, as if rewritten
                                                as if           herein.
                                                      rewritten herein.

      61.
      61.    A statutory
             A statutory program
                         program is
                                 is recognized
                                    recognized under
                                               under Florida
                                                     Florida law
                                                             law for
                                                                 for commercial
                                                                     commercial

salvage activity
salvage activity with
                 with respect
                      respect to
                              to historic
                                 historic shipwreck
                                          shipwreck sites
                                                    sites in
                                                          in Florida
                                                             Florida coastal waters.
                                                                     coastal waters.

      62.
      62.    Pursuant to Florida
             Pursuant to Florida DOS’
                                 DOS' Rules,
                                      Rules, adopted
                                             adopted as
                                                     as Chapter 1A-31, F.A.C.,
                                                        Chapter 1A-31, F.A.C., aa

commercial salvor, upon
commercial salvor, upon written
                        written documentation
                                documentation may
                                              may apply
                                                  apply to
                                                        to the
                                                           the Florida
                                                               Florida DOS
                                                                       DOS to
                                                                           to

search for,
search      locate, identify,
       for, locate, identify, conserve and recover
                              conserve and recover on an exclusive
                                                   on an           basis archeological
                                                         exclusive basis archeological

material from
material      historic shipwreck
         from historic shipwreck sites
                                 sites in
                                       in aa designated
                                             designated area.
                                                        area. A
                                                              A historic
                                                                historic shipwreck
                                                                         shipwreck site
                                                                                   site

is the
is the remains
       remains of
               of an
                  an abandoned ship at
                     abandoned ship at least
                                       least 50-years
                                             50-years old,
                                                      old, including hardware, cargo,
                                                           including hardware, cargo,

personal items
personal items and treasure trove.
               and treasure trove. The
                                   The salvor
                                       salvor must
                                              must demonstrate
                                                   demonstrate financial ability and
                                                               financial ability and

suitable qualifications;
suitable qualifications; that
                         that it
                              it has
                                 has engaged
                                     engaged aa professional
                                                professional archaeologist; that
                                                             archaeologist; that

professionally accepted
professionally          techniques will
               accepted techniques will be
                                        be utilized
                                           utilized for
                                                    for exploration,
                                                        exploration, identification,
                                                                     identification,

recovery, researching,
recovery, researching, conservation
                       conservation or stabilization of
                                    or stabilization of archaeological materials; and
                                                        archaeological materials; and
                                          17
                                          17
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present adequate
present adequate plans
                 plans for
                       for analysis
                           analysis and
                                    and curation
                                        curation of all recovered
                                                 of all           materials. The
                                                        recovered materials. The

Florida DOS
Florida DOS agrees
            agrees with
                   with the
                        the Salvor
                            Salvor for
                                   for an
                                       an exclusive 3-year term
                                          exclusive 3-year term with
                                                                with aa 3-year
                                                                        3-year

renewal term.
renewal term. An
              An exploration permit authorizes
                 exploration permit authorizes collection
                                               collection of sensing and
                                                          of sensing     visual
                                                                     and visual

information of
information of potential
               potential historic
                         historic shipwreck
                                  shipwreck sites
                                            sites without
                                                  without excavation and bottom
                                                          excavation and bottom

disturbance, modified
disturbance, modified to
                      to allow
                         allow such
                               such disturbance
                                    disturbance and
                                                and excavation to determine
                                                    excavation to determine the
                                                                            the

presence and
presence and value
             value of potential historic
                   of potential historic shipwreck
                                         shipwreck sites.
                                                   sites. A
                                                          A recovery
                                                            recovery permit
                                                                     permit follows
                                                                            follows

after the
after the existence and nature
          existence and nature of
                               of aa historic
                                     historic shipwreck
                                              shipwreck has
                                                        has been
                                                            been documented.
                                                                 documented. These
                                                                             These

matters are
matters     directed per
        are directed per Rules 1A-31.0015, 1A-31.050,
                         Rules 1A-31.0015, 1A-31.050, 1A-31.0062,
                                                      1A-31.0062, 1A-31.0082
                                                                  1A-31.0082

and 1A-31.040.
and 1A-31.040.

      63.
      63.    The Florida
             The Florida DOS is obliged
                         DOS is         to approve
                                obliged to         an authorized
                                           approve an authorized salvor's
                                                                 salvor’s

excavation and recovery
excavation and recovery of artifacts that
                        of artifacts that will
                                          will assist in the
                                               assist in the identification
                                                             identification of
                                                                            of age and
                                                                               age and

type of
type    historic shipwreck
     of historic shipwreck site
                           site being
                                being investigated
                                      investigated pursuant
                                                   pursuant to
                                                            to exploration authority.
                                                               exploration authority.

For approval
For approval of ultimate recovery
             of ultimate recovery of
                                  of an identified site,
                                     an identified site, the
                                                         the Florida
                                                             Florida DOS
                                                                     DOS commercial
                                                                         commercial

salvage program
salvage program requires
                requires an
                         an approved
                            approved research
                                     research design
                                              design and description of
                                                     and description    proposed
                                                                     of proposed

excavation activities prepared
excavation activities prepared by
                               by the
                                  the project
                                      project archaeologist
                                              archaeologist and
                                                            and other documentation,
                                                                other documentation,

as directed
as directed by
            by Rules 1A-31.060, 1A-31.065,
               Rules 1A-31.060, 1A-31.065, and
                                           and 1A-31.070.
                                               1A-31.070.

      64.
      64.    And per
             And per its
                     its Rule
                         Rule 1A-31.090,
                              1A-31.090, DOS
                                         DOS ensures that archaeological
                                             ensures that archaeological materials
                                                                         materials

are transferred
are transferred to
                to the
                   the authorized
                       authorized salvor
                                  salvor who
                                         who receives
                                             receives approximately 80% of
                                                      approximately 80% of

recovered archaeological
recovered archaeological materials
                         materials with
                                   with DOS
                                        DOS receiving
                                            receiving approximately 20%, with
                                                      approximately 20%, with

distribution of
distribution    such recovered
             of such recovered materials
                               materials based
                                         based on historical value.
                                               on historical value.


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                                         18
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      65.
      65.    The Florida
             The Florida DOS was authorized
                         DOS was            by law
                                 authorized by law to
                                                   to confer rights and
                                                      confer rights and privileges
                                                                        privileges

upon GME
upon GME for salvage activity
         for salvage activity in
                              in the
                                 the State’s
                                     State's coastal waters on
                                             coastal waters    an exclusive
                                                            on an           basis,
                                                                  exclusive basis,

which precluded
which precluded such
                such activity
                     activity of any third-party
                              of any third-party salvager,
                                                 salvager, namely
                                                           namely France.
                                                                  France.

      66.
      66.    DOS’ salvage
             DOS' salvage activity program established
                          activity program established aa contract under law
                                                          contract under law with
                                                                             with

GME upon DOS'
GME upon DOS’ acceptance
              acceptance of
                         of GME to conduct
                            GME to conduct commercial salvage activity
                                           commercial salvage activity on
                                                                       on

state submerged
state submerged coastal lands. GME
                coastal lands. GME enjoyed advantageous business
                                   enjoyed advantageous business relations
                                                                 relations with
                                                                           with

the Florida
the Florida DOS
            DOS pursuant
                pursuant to
                         to its
                            its salvage
                                salvage activity
                                        activity program
                                                 program that
                                                         that should
                                                              should have
                                                                     have enabled
                                                                          enabled

GME to recover
GME to         and benefit
       recover and benefit from its finds.
                           from its finds.

      67.
      67.    DOS was
             DOS was obligated
                     obligated pursuant
                               pursuant to
                                        to its
                                           its Rules to authorize
                                               Rules to authorize GME to recover
                                                                  GME to recover

its discovered
its discovered and
               and documented
                   documented shipwreck
                              shipwreck sites
                                        sites that
                                              that were
                                                   were reasonably
                                                        reasonably recoverable
                                                                   recoverable

under GME’s
under       archaeologist prepared
      GME's archaeologist prepared excavation design.
                                   excavation design.

      68.
      68.    GME’s
             GME's Permit
                   Permit agreement
                          agreement #2015-03 with the
                                    #2015-03 with the Florida
                                                      Florida DOS,
                                                              DOS, inclusive
                                                                   inclusive of
                                                                             of

DOS’ rules
DOS' rules incorporated
           incorporated therein,
                        therein, also
                                 also established
                                      established aa salvage
                                                     salvage activity
                                                             activity contract, signed
                                                                      contract, signed

by both
by both parties
        parties and
                and containing mutual promises,
                    containing mutual promises, obligations, and benefits,
                                                obligations, and benefits, including
                                                                           including

promise for
promise     GME to
        for GME to salvage
                   salvage and
                           and benefit
                               benefit from its documented
                                       from its documented finds by recovery
                                                           finds by recovery

authorization upon
authorization upon reasonable
                   reasonable action
                              action plan.
                                     plan.

      69.
      69.    The various
             The various historic
                         historic shipwreck
                                  shipwreck sites
                                            sites found by GME
                                                  found by     pursuant to
                                                           GME pursuant to its
                                                                           its

agreement with
agreement with the
               the Florida
                   Florida DOS
                           DOS were
                               were abandoned
                                    abandoned property
                                              property that
                                                       that could be recovered
                                                            could be recovered

by GME
by GME consistent with its
       consistent with its relations
                           relations with
                                     with the
                                          the Florida
                                              Florida DOS.
                                                      DOS.




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                                         19
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      70.
      70.    Even if shipwreck
             Even if shipwreck Site
                               Site #
                                    # 22 were
                                         were aa French
                                                 French vessel
                                                        vessel known
                                                               known as
                                                                     as la
                                                                        la Trinité,
                                                                           Trinite,

still the
still the Florida
          Florida DOS
                  DOS could
                      could authorize its salvage
                            authorize its salvage recovery by GME
                                                  recovery by     because that
                                                              GME because that

vessel was
vessel was used
           used for
                for commercial purposes, to
                    commercial purposes, to wit:
                                            wit: the
                                                 the colonization
                                                     colonization of French
                                                                  of French

Huguenots (a
Huguenots (a religious
             religious ministry),
                       ministry), which
                                  which was
                                        was an activity that
                                            an activity that private
                                                             private persons
                                                                     persons engage
                                                                             engage

in, so
in, so that
       that Site
            Site ## 2
                    2 was
                      was not
                          not aa foreign military vessel
                                 foreign military vessel protected
                                                         protected from
                                                                   from recovery without
                                                                        recovery without

France’s consent
France's         under the
         consent under the Sunken
                           Sunken Military Craft Act.
                                  Military Craft Act.

      71.
      71.    France knew
             France      of GME’s
                    knew of GME's contractual
                                  contractual rights and advantageous
                                              rights and advantageous relations
                                                                      relations

with the
with the Florida
         Florida DOS,
                 DOS, but
                      but nevertheless
                          nevertheless acted
                                       acted to
                                             to influence,
                                                influence, induce and collaborate
                                                           induce and collaborate

with the
with the Florida
         Florida DOS
                 DOS for
                     for it to abrogate
                         it to abrogate its
                                        its obligations to and
                                            obligations to and favorable
                                                               favorable relations with
                                                                         relations with

GME,
GME, even though France
     even though France was
                        was not
                            not aa privileged
                                   privileged party
                                              party to
                                                    to GME’s relations with
                                                       GME's relations with the
                                                                            the

Florida DOS.
Florida DOS.

      72.
      72.    By its
             By its actions
                    actions and
                            and activities taken, with
                                activities taken, with respect
                                                       respect to
                                                               to the
                                                                  the historic
                                                                      historic shipwreck
                                                                               shipwreck

sites discovered
sites discovered by
                 by GME,
                    GME, France
                         France intentionally interfered with
                                intentionally interfered with GME's
                                                              GME’s business
                                                                    business and
                                                                             and

contractual relations with
contractual relations with the
                           the Florida
                               Florida DOS
                                       DOS and
                                           and with
                                               with GME’s rights to
                                                    GME's rights to recover
                                                                    recover its
                                                                            its

discovered shipwreck
discovered shipwreck sites
                     sites and
                           and to
                               to receive
                                  receive their
                                          their beneficial
                                                beneficial value,
                                                           value, resulting
                                                                  resulting in damages
                                                                            in damages

to GME.
to GME.

      WHEREFORE, the
      WHEREFORE, the Court
                     Court should
                           should determine
                                  determine that
                                            that France
                                                 France wrongfully
                                                        wrongfully interfered
                                                                   interfered

with GME’s
with GME's contractual
           contractual rights
                       rights and business relations
                              and business relations with
                                                     with the
                                                          the Florida
                                                              Florida DOS,
                                                                      DOS, and
                                                                           and

award GME
award     damages, and
      GME damages,     provide further
                   and provide         relief as
                               further relief as appropriate.
                                                 appropriate.




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                                          20
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    Dated this
    Dated this 17th
               17th day
                    day of April, 2020.
                        of April, 2020.


s/ Jennifer
s/ Jennifer A.
            A. Winegardner
               Winegardner                 s/ M.
                                           s/ M. Stephen
                                                 Stephen Turner
                                                          Turner
JENNIFER
JENNIFER A.  A. WINEGARDNER
                WINEGARDNER                M. STEPHEN
                                           M.  STEPHEN TURNER,
                                                           TURNER, P.A.
                                                                     P.A.
Florida Bar
Florida Bar No.
             No. 133930
                 133930                    Florida Bar
                                           Florida     No. 095691
                                                   Bar No.  095691
KIMBERLY
KIMBERLY A.    A. GRIPPA
                  GRIPPA                   P.O.  Box 10261
                                           P.O. Box  10261
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                                           Tallahassee, FL 32302
                                                            32302
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